Case 8:16-cv-01289-VMC-MAP Document 11 Filed 07/08/16 Page 1 of 2 PageID 55



                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

DR. STEVEN ARKIN, a Florida resident,             )
individually and as the representative of a       )
class of similarly-situated persons,              )
                                                  )
                               Plaintiff,         )   Civil Action No.: 8:16-cv-01289
                                                  )
               v.                                 )
                                                  )
PRIORITY REPLY NETWORKS, LLC                      )
d/b/a CALL SIMPLIFIED and JOHN DOES               )
1-10,                                             )
                                                  )
                              Defendants.

                                  NOTICE OF SETTLEMENT

       Plaintiff DR. STEVEN ARKIN hereby gives written notice to the Court that the parties have

reached a settlement in this case that will resolve all of the issues raised in this dispute and dispose

of this entire action. The parties are in the process of finalizing the settlement agreement and other

documentation required to effectuate the settlement. The parties anticipate filing a Stipulation of

Dismissal with Prejudice once the settlement has been finalized, within the next thirty days.

                                               Respectfully submitted,

                                               DR. STEVEN ARKIN, individually and as the
                                               representative of a class of similarly-situated persons

                                               s/ Ryan M. Kelly
                                               Ryan M. Kelly – FL Bar No.: 90110
                                               Brian J. Wanca
                                               Ross M. Good
                                               ANDERSON + WANCA
                                               3701 Algonquin Road, Suite 500
                                               Rolling Meadows, IL 60008
                                               Telephone: 847-368-1500
                                               Fax: 847-368-1501
Case 8:16-cv-01289-VMC-MAP Document 11 Filed 07/08/16 Page 2 of 2 PageID 56



                                              Email: rkelly@andersonwanca.com;
                                              bwanca@andersonwanca.com;
                                              rgood@andersonwanca.com



                                CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2016, I electronically filed the foregoing Joint Stipulation
of Dismissal with the Clerk of the Court using the CM/ECF system which will send notification
of such filings to all counsel of record.



                                                     /s/     Ryan M. Kelly
